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                         Exhibit F
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                              Exhibit E
                                                               Nov. 4, 2015
                                                              Letter to FDA
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                                                                       Hal C. Lawrence, III, MD, FACOG
                                                                                  Office: (202) 863-2500
                                                                               Facsimile: (202) 863-1643

  November 4, 2015

  Robert M. Califf, MD, Deputy Commissioner for Medical Products and Tobacco
   anet Woodcock, MD, Director of the Center for Drug Evaluation and Research
  Food and Drug Administration
  10 02 New Hampshire Avenue
  Silver Spring, MD 20 3

  Dear Drs. Califf and Woodcock:
  On behalf of the American Congress of Obstetricians and Gynecologists (ACOG), an organization
  representing 58,000 physicians and partners in women’s health, I would like to present our
  recommendations regarding the safety, effectiveness, and use of mifepristone. We hope this information
  will be useful to FDA in any future deliberations regarding revisions to the drug label, Risk Evaluation
  and Mitigation Strategy (REMS), and Elements To Assure Safe Use (ETASU).
  Since FDA approval in 2000, mifepristone has been used by women over 2.5 million times as a safe,
  effective method of pregnancy termination. As outlined in the enclosed Committee Opinion 613, ACOG
  supports access to safe, legal abortion services as a necessary component of women’s health care,
  supports the availability of high-quality reproductive health services for all women, and is committed to
  improving access to abortion. As our knowledge regarding mifepristone advances, we believe its labeling,
  REMS, and ETASU have become outdated and have limited women’s access to safe, effective abortion
  care.
  ACOG supports evidence-based regimens for provision of medication abortion services, as outlined in the
  enclosed Practice Bulletin 143. These evidence-based regimens have improved medication abortion in
  terms of expense, safety, speed, and adverse effects. Based on efficacy and the adverse effect profile,
  evidence-based protocols for medication abortion are superior to the FDA-approved regimen.
  Regimens that use low doses of mifepristone (200 mg) have similar efficacy and lower costs compared
  with those that use mifepristone at 600 mg. aginal, buccal, and sublingual routes of misoprostol
  administration increase efficacy, decrease continuing pregnancy rates, and increase the gestational age
  range for use as compared with the FDA-approved regimen. ACOG supports efforts to align FDA
  labeling for mifepristone with evidence-based regimens.
  In addition, ACOG would fully support the following changes to the current label, consistent with ACOG
  recommendations outlined in Practice Bulletin 143:
  1. The drug should be indicated for use in medical abortions up to 70 days of gestation
      Although the method is most commonly used up to 63 days of gestation, the treatment is also
      effective after 63 days gestation i.
  2. The location where the patient should take these drugs should not be restricted
      There is no clinical ustification for restrictions or regulations regarding the location of mifepristone
      or misoprostol ingestion or administration.

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  3. An in-person visit should not be mandated for follow-up assessment
      Follow-up after medication abortion is important, although an in-clinic evaluation is not always
      necessary.
  4. Any licensed healthcare provider should be able to prescribe the drug, not ust physicians
      Medication abortion can be provided safely and effectively by nonphysician clinicians.
  In addition to the above recommendations, ACOG finds evidence regarding the safety of the drug over
  the past 15 years of use in the United States to be a compelling argument for the removal or substantial
  modification of the Risk Evaluation and Mitigation Strategy (REMS) and Elements to Assure Safe Use
  (ETASU) for mifepristone ii. These requirements are inconsistent with requirements for other drugs with
  similar or greater risks and serve as barriers to access without demonstrated improvements to patient
  safety or outcomes. Prescription access to medication abortion has been shown to improve access to care,
  and could also facilitate expansion of telemedicine models of provision that have been shown to increase
  access, particularly for women in rural areas.iii iv v
  ACOG opposes regulations or restrictions that are inappropriately unique to the provision of abortion and
  that mandate procedures and care that are not evidence-based. The safety record of this drug does not
  warrant restrictions such as provider certification, dispensing of the drug in specific locations, or specified
  patient consent. A standard clinical license should be sufficient to ensure that a practitioner meets
  qualifications for prescribing mifepristone. Mandating the location where the drug is to be dispensed has
  no bearing on risk. The requirement that patients sign an FDA-approved agreement before receiving
  mifepristone is inconsistent with requirements for other drugs with similar or greater risks. In line with its
  safety record and to improve access, we recommend that mifepristone be made available in retail
  pharmacies like other prescription drugs, without unique provider certification or patient consent
  requirements.
  Thank you for your consideration. We are available to answer any questions you may have regarding
  these issues.
  Sincerely,



  Hal C. Lawrence, III, MD, FACOG
  Executive ice President and CEO


  i
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